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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


UNITED STATES OF AMERICA,


vs.                                                  CASE NO. 8:04-CR-238-T-17-TBM


FREDI ALONZO TORRES
                                      /

                                             ORDER

        This cause comes before the Court on the defendant’s motion for immediate deportation
(Docket No. 387) and response thereto (Docket No. 389). The Court finds the response of the
government persuasive and incorporates the response herein. Accordingly, it is.


        ORDERED that defendant’s motion for immediate deportation (Docket No. 389) be
denied.


        DONE AND ORDERED in Chambers in Tampa, Florida this 20th day of November,
2007.




Copies furnished to: All Counsel of Record
